                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           No. 3:06-00031
                                               )           JUDGE CAMPBELL
TIM DICKERSON                                  )


                                           ORDER

       Pending before the Court are the Defendant’s Motion To Modify Condition Of

Supervised Release (Docket No. 889), and Amended Motion To Modify Condition Of

Supervised Release (Docket No. 890). Through the Motions, the Defendant seeks to modify the

condition of his supervised release requiring that he obtain a General Equivalency Diploma

(GED), and indicates that the Probation Office is in agreement with the request. The Defendant

waives a hearing on the Motions. The Government has filed a Response (Docket No. 892)

indicating that it does not oppose the Defendant’s request. The Motion is GRANTED.

       It is so ORDERED.



                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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